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                                            STATE OF NEW YORK
                                     OFFICE OF THE ATTORNEY GENERAL
    LETITIA JAMES                                                                                    DIVISION OF STATE COUNSEL
ATTORNEY GENERAL                                                                                            LITIGATION BUREAU

                                              Writer’s Direct Dial: (212) 416-8561


                                                        August 24, 2022
    By ECF
    Hon. Ona T. Wang
    United States Magistrate Judge
    United States Courthouse
    500 Pearl Street
    New York, New York 10007

                      Re:       Jane Smith v. Annucci, et al.,
                                21-CV-01715 (RA)(OTW) [rel. 17-CV-07954 (RA)(OTW)]

    Your Honor:

            I write respectfully on behalf of both plaintiffs and defendants in response to the Order
    issued by the Court this morning (ECF No. 190) directing the parties to file a joint status letter by
    September 16, 2022. In light of this Order, the parties’ respectfully request that they no longer be
    required to file a joint status letter by this Friday, August 26, 2022 (ECF No. 152). The two status
    reports will cover essentially the same grounds, including such things as electronic discovery and
    defendants’ responses to plaintiffs’ document demands.

            Thank you.

                                                                                 Respectfully submitted,

                                                                                 /s/ Neil Shevlin
                                                                                 Neil Shevlin
                                                                                 Assistant Attorney General
                                                                                 Neil.Shevlin@ag.ny.gov
    cc: Counsel for plaintiffs (by ECF)




         28 Liberty Street, New York, New York 10005 ● Tel.: (212) 416-8610 ● Fax: (212) 416-6075 (Not For Service of Papers)
                                                       www.ag.ny.gov
